
*1101OPINION.
Van Fossan:
Section 214(a)(5) of the Revenue Act of 1918, so far as material, provides :
That in computing net income there shall be allowed as deductions:
(5) Losses sustained during the taxable year and not compensated for by insurance or otherwise, if incurred in any transaction entered into for profit, though not connected with the trade or business; * * *
The uncontradicted facts in this appeal convince us that petitioner purchased this parcel of land and .constructed a house on a portion thereof with the intention of selling the same at a profit. It is also *1102clear that petitioner did not build the house as a residence for himself and family or any of them. Under the peculiar circumstances here the fact that he and his wife occupied the house for a brief period does not render the transaction any the less one entered into for profit. See Appeal of Helen Converse Thorpe, 3 B. T. A. 1006. We are of the opinion that the loss suffered by petitioner upon the sale of this property was sustained in a transaction entered into for profit and that he is entitled to deduct such loss in computing his net income for the year 1919. Cf. Tindle v. Heiner, 18 Fed. (2d) 452.
Jlodgment will be entered, on 15 days’ notice, under Rule 50.
Considered by Marquette, Milliken, and Phillips.
